 

Ao 2453 (Rev. 06/05)

Sheet l- Judgrnent in a Criminal Ca.se
United States District Court
Eastern District of Missouri
UNITED sTATEs oF AMERICA
JUDGMENT IN A CRIMINAL CASE

V.

 

 

 

 

MATTHEW ASHBY CASE NUMBER: 4:07CR54 JCH
USM Nmnber: 33945-044
THE DEFENDANT: Carter Collins Law
Defendant's Attorney
m pleaded guilty to count(s) One (1) of the indictment on March 10, 2003

 

|:| pleaded nolo contendere to count(s)
which Was accepted by the court.
w found uil o unt s
|: af;f§r a pleagof debt gluci:lqcy ( )
The defendant is adjudicated guilty of these offenses:

 

Date Off`ense Count

Title & Section Naturc of Offcnse Concluded Numberit 51
21 USC § 841(a)(l) and 846 and Did knowingly and intentionally conspire, to distribute 011 0r before J_El!ll}ary, One_(l)
punishable under 21 USC and possess with intent to distribute 2005 and C°ntm“mg to `

date of Indictment

341@)(1)(A)(Viii) methamphetamine, a Schedule ll controlled substance

The defendant is sentenced as provided in pages 2 through 6 of this judgment 'I`he sentence is imposed pursuant

to the Sentencing Reform Act of 1984.

\:| The defendant has been found not guilty on count(s)

 

m Count(s) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances

August 29, 2008
Date of lmposition of Judgrnent

jbr~/M.) C./!’LM;DU='\`

S@nature of Judge

Honorable Jean C. Harnilton
United States District Judge
Name & 'l`itle of Judge

August 29, 2008
Date signed

Record No.: 643

 

-~ _\».-+w,_r~»>- - <¢~,L-==-.¢.l.. »\.¢_,.v,.r---..--__~~¢ - ~ » _,

AO 245B {Rev. 06.'05) Judgmem in Criminaj Ca_;e Sheet 2 - Imprisonment

Judgrnent-Page 2 of 6

 

DEFENDANT: MATTHEW ASHBY
CASE NUMBER: 4:07CR54 JCI-I
Disn-ict: Eastern District of Missouri

 

 

ll\/fPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 135 months

§ The court makes the following recommendations to the Bureau of Prisons:

While in the custody of the Bureau of Prisons, it is recommended that the defendant be evaluated for participation in the Residential Drug
Abuse Prograrn and a mental health program, if this is consistent With the Bureau of Prisons policies It is further recommended th`_at to the
extent defendant is qualified and space is available, that defendant be allowed to serve his term of imprisonment at FMC Rochester in
Rochester, Minnesota.

The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this district:
|:\ at a.m./pm on
|:, as notified by the United States Marshal.

[::| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

|:| before 2 p.m. on

|::| as notified by the United States Marshal
l:\ as notified by the Probation or Pretrial Services Office

MARSHALS RETURN MADE ON SEPARATE PAGE

, e‘.~,_~-._. eat

 

AO 2455 (Rev. 06/05) ludgmerit in Criminal Ca,Se Slieet 3 ~ Supervised Relea.\ie

 

Judgment-Page 3 of 6

 

DEFENDANT: MATTHEWASI-IBY
CASE NUMBER: 4:07CR54 JCH
District: Eastern District of Missouri

 

 

 

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 ycars.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance

The defendant shall refrain from any unlawful use of a controlled substance The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer
m The above drug testing condition is suspended based on the cotn't‘s determination that the defendant poses a low risk

of future substance abuse. (Check, if applicable )

The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)
|:l 'I'he defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)

|:| 'I`he defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

l:| The Defendant shall participate in an approved program for domestic violence (Check, if applicable.)

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
accordance with the Schedule of Payinents sheet of this judgment

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report .to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, trainirig, or other

acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change` in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled

substance or paraphernalia related to any controlled substances except as prescribed by a physician:

8) the defendant Shall not frequent places where controlled substances are illegally sold, used distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted' `

of a felony unless granted permission to do so by the probation officer;
lO) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third Parties of risks that may be occasioned by the
defendant‘s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement

 

AO 2453 (Rev_ 06,'05) : ]udgmem in C;imjnal Cas@ Sheet 3A - Supervised Release

 

Judgment-Page 4 of 6

 

 

DEFENDANT; MATTHEW ASHBY
CASE NUMBER: 4:07CR54 JCH

Disrrict: Eastern District of Missouri

ADDITIONAL SUPERVISED RELEASE TERMS

 

 

l. The defendant shall refrain from any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement
of supervision and at least two periodic drug tests thereafter for use of a controlled substance

2. The defendant shall participate in a drug or alcohol abuse treatment program approved by the United States Probation Office, which
may include substance abuse testing, counseling residence in a Comrnunity Corrections Center, residence in a Comprehensive Sanctions
Center, Residential Re-Entry Center, or inpatient treatment in a treatment center or hospital The defendant shall pay for the costs
associated with substance abuse services based on a co-payment fee established by the United States Probation Office. Co-payments shall
never exceed the total cost of services provided

3. The defendant shall participate in a mental health program approved by the United States Probation Office. The defendant shall pay for
the costs associated with treatment based on a co-payment sliding fee scale approved by the United States Probation Office. Co-paymcnts
shall never exceed the total costs of treatment

4. If not obtained while in Bureau of Prisons1 custody, the defendant shall participate in GED classes as approved by the United States
Probation Ofiice.

 

AO 3453 (R*’»"- 05!05) judgment in Crimlnal Case Sheet 5 - Crimi.nal Morietary Peoalties
Judgrnent-P age 5 of 6

DEFENDANT: MATTHEW ASHBY
CASE NUMBER: 4:07CR54 JCH
District: Eastem District of Missouri

CRIl\/HNAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6

Assessment Fine Restitution
8100.00

Totals:

|:l The determination of restitution is deferred until An Amended Judgmem in a ermina[ Case (AO 245@)
will be entered after such a determination ____`

E The defendant shall make restitution, payable through the Clerk of Court, to the following payees in the amounts listed belowl
If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified

otherwise` m the priority order or percentage payment column below. However, pursuant to 18 U. S C. 3664(i), all nonfederal
victims must be paid before the United States is paid

Name of Pay ee Total Loss* Restitution Ordered PriOril_.}[ Or flcrcentage

Totals :

 

[l Restitution amount ordered pursuant to plea agreement

|:| The defendant shall pay interest on any fine of more than $2, 500, unless the fine is paid in full before the fifteenth dayl

after the date of judgment pursuant to 18 U. S. C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for default and delinquency pursuant to 18 U. S. C. § 3612(g). `

g The court determined that the defendant does not have the ability to pay interest and it is ordered that:

m The interest requirement is waived for the. [:l fine and for m restitution
\:| The interest requirement for the |___l fine |:l restitution is modified as follows:

1
l

* Findings for the total amount of losses are required under Chapters 109A,110,110A,and 113A of Title 18 for offenses
committed on or after September 13, 1994 but before April 23,1996. .

 

AO 245]3 (Rev. 06!05) Judgrriel‘lt in Criminal Case Sheet 6 - Schedule of Payments

 

Judgment-Page 6 of 6

 

DEFENDANT: MATTHEW ASHBY 7
CASE N'UMBER: 4:07CR54 JCH
Distrlct: Eastern District of Missouri

 

SCHEDULE OF PAYMENTS
I-laving assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A g Lurnp sum payment of $100.00 due i_mmediately, balance due
I:I not later than , or
N in accordance with l:l C, l:l D, or I:I E below; or m F below; or
B \:\ Payment to begin immediately (may be combined with ll C, l:\ D, or l:l E below; or ij F belOW; Ol'

C [”_'| Payment in (e.g., equal, weekly, monthly, quarterly) installments of over a period'of
e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D l:l Payment in (e.g., equai, weekly, monthly, quarterly) installments of over aperiod of
e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

 

term of supervision; or

E l:l Payment during the term of supervised release will commence within (e g., 30 or 60 days) after Release from
imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that tirne: or

F g Special instructions regarding the payment of criminal monetary penalties:
IT IS FURTHER ORDERED that the defendant shall pay to the United States a special assessment of $100.00, that shall be due immediately

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties` is due
during the period of imprisonment All criminal monetary penalty payments except those payments made through the Bureau of Prisons'
Inmate Financial Responsibility Program are made to the clerk of the court.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed

|:l Joirrt and Several
Defendant and Co- defendant Names and Case Numbers (including defendant number), Total Amount, loint and Several Amount

and corresponding payee, if appropriate

[| The defendant shall pay the cost of prosecution
|:] The defendant shall pay the following court cost(s):

ij The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal, l
(S)f`me interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.

 

--.¢.\\--_a.,-`,.c ,, ,

DEFENDANT: MATTHEW ASI-IBY

 

CASE NUMBER: 4:07CR54 JCH

 

USM Nurnber: 3 3945-044

 

UNITED STATES MARSHAL
RETURN OF JUDGMENT IN A CRIMINAL CASE

 

l have executed this judgment as follows:

 

 

The Defendant was delivered on to

at _ with a certified copy of this judgment

 

UNITED STATES MARSHAL

 

 

 

By ,
Deputy U.S. Marshal
l:l The Defendant was released on to Probation
i:l The Defendant Was released on to Supervised Release
l:i and a Fine of i:l and Restitution in the amount of

 

UNITED STATES MARSHAL

 

 

By
Deputy U.S. Marshal
I certify and Return that on , | tOO|< CuStOdy Of
at and delivered same to

 

 

on F.F.T.

 

 

U.S. MARSHAL E/MO

By DUsM

